 Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 1 of 8 PAGEID #: 1




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


EQUAL EMPLOYMENT OPPORTUNITY              )
COMMISSION,                               )
             Plaintiff,                   )        CIVIL ACTION: 3:20-cv-00381
                                          )
            v.                            )        COMPLAINT
                                          )
RED ROOF INNS, INC                        )        JURY TRIAL DEMAND
                                          )
                  Defendant.              )
__________________________________________)


                           NATURE OF THE ACTION

      This is an action under Title I of the Americans with Disabilities Act of

1990 and Title I of the Civil Rights Act of 1991 to correct unlawful employment

practices on the basis of disability and to provide appropriate relief to Wesley

Derby (“Derby”).

      As alleged with greater particularity in paragraphs 13 through 29 below,

the Equal Employment Opportunity Commission (“the Commission”) alleges

that Red Roof Inns, Inc. (“Defendant Employer”) violated the ADA when it failed

to accommodate Derby, a qualified individual with a disability, in his attempt

to learn more about and compete for a promotion and summarily denied him

the promotion.

                          JURISDICTION AND VENUE

      1.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343, and 1345. This action is authorized and instituted pursuant

to Section 107(a) of the Americans with Disabilities Act of 1990 (“ADA”), as
  Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 2 of 8 PAGEID #: 2




amended, 42 U.S.C. § 12117(a), which incorporates by reference Section

706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§§ 2000e-5(f)(1) and (3), and pursuant to Section 102 of the Civil Rights Act of

1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Southern

District of Ohio.

                                      PARTIES

      3.     Plaintiff, the Commission, is the agency of the United States of

America charged with the administration, interpretation and enforcement of

Title I of the ADA and is expressly authorized to bring this action by Section

107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. §§ 2000e-5(f)(1) and (3).

      4.     At all relevant times, Defendant Employer has continuously been a

Delaware Corporation, doing business in the State of Ohio and the City of

Springfield and has continuously had at least 15 employees.

      5.     At all relevant times, Defendant Employer has continuously been

an employer engaged in an industry affecting commerce under Sections 101(5)

and 101(7) of the ADA, 42 U.S.C. §§ 12111(5), (7).

      6.     At all relevant times, Defendant Employer has been covered

entities under Section 101(2) of the ADA, 42 U.S.C. § 12111(2).




                                           2
  Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 3 of 8 PAGEID #: 3




                       ADMINISTRATIVE PROCEDURES

       7.    On June 21, 2018, more than thirty days prior to the institution of

this lawsuit, Derby filed a charge with the Commission alleging violations of

Title I of the ADA by Defendant Employer.

       8.    On March 20, 2020, the Commission issued to Defendant

Employer a Letter of Determination finding reasonable cause to believe that the

ADA was violated and inviting Defendant Employer to join with the

Commission in informal methods of conciliation to endeavor to eliminate the

unlawful employment practices and provide appropriate relief.

       9.    The Commission engaged in communication with Defendant

Employer to provide them with the opportunity to remedy the discriminatory

practices described in the Letter of Determination.

       10.   The Commission was unable to secure from Defendant Employer a

conciliation agreement acceptable to the Commission.

       11.   On June 10, 2020, the Commission issued to Defendant Employer

a Notice of Failure of Conciliation.

       12.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                            STATEMENT OF CLAIMS

       13.   In or about May 2018, Defendant Employer engaged in unlawful

employment practices at its corporate Contact Center in Springfield, OH in

violation of Sections 102(a), 102(b)(1), 102(b)(2), and 102(b)(5)(A) and (B) of

Title I of the ADA, 42 U.S.C. § 12112.


                                         3
 Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 4 of 8 PAGEID #: 4




      14.   During the relevant time, Derby was a qualified individual with a

disability. Derby worked as a Guest Relations Specialist for Defendant

Employer, reporting to their corporate Contact Center.

      15.   Derby is visually impaired and worked from home with the aid of

the Jobs Access with Speech (JAWS) system.

      16.   On or about May 2, 2018, Defendant Employer apprised its

employees of the opportunity for a promotion to Property Connectivity

Coordinator with the Online Connectivity Team. Employees interested in this

position were invited to submit applications and attend an Online Connectivity

Information Seminar where employees could get a better understanding of the

position.

      17.   On or about May 2, 2018, Derby sent an email to Defendant

Employer requesting a reasonable accommodation to attend the seminar via

Skype or any remote method and expressing his interest in possibly applying

for the Property Connectivity Coordinator position.

      18.   On or about May 3, 2018, Cheryl Eichelberger, Online Connectivity

Supervisor for Defendant Employer, emailed Derby in response, telling him

they were unwilling to accommodate him by offering the seminar through

Skype because they “would like to get the bugs worked out before we offer it via

Skype”.

      19.   Ms. Eichelberger also told Derby “the systems that we work with

do not integrate with the JAWS system, so we are not able to accommodate as

far as hiring … I just don’t want you to waste your time if you were looking to


                                        4
  Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 5 of 8 PAGEID #: 5




apply.”

      20.    Defendant Employer never discussed or explored alternatives to

allow for Derby to participate in the Online Connectivity Information Seminar.

      21.    Defendant Employer never discussed or explored alternatives to

allow for Derby to compete for the Property Connectivity Coordinator position.

      22.    Based on Defendant Employer’s correspondence, Derby did not

participate in the informational seminar and did not submit a formal

application for the position, despite his interest in it.

      23.    Based on Eichelberger’s May 3, 2018 email that Defendant

Employer “was not able to accommodate” Derby, it would have been futile for

Derby to apply for the position of Property Connectivity Coordinator.

      24.    Derby was fully qualified for the Property Connectivity Coordinator

position had an accommodation been provided.

      25.    In or about May 30, 2018, Defendant Employer hired a non-

visually impaired Guest Relations Specialist as the Property Connectivity

Coordinator.

      26.    Defendant Employer was aware of Derby’s disability and failed to

accommodate Derby to allow for his participation in the information seminar.

      27.    Defendant Employer was aware of Derby’s disability and failed to

accommodate Derby to allow for his participation in the application process for

the promotion.

      28.    Defendant Employer was aware of Derby’s disability and need for

reasonable accommodations and failed to engage in the interactive process.


                                          5
 Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 6 of 8 PAGEID #: 6




      29.   Defendant Employer denied Derby the promotion because of his

disability and need for accommodation.

      30.   The effect of the practices complained of in paragraphs 13 through

29 above, has been to deprive Derby of equal employment opportunities and

otherwise adversely affect his status as an employee and/or applicant for a

promotion because of his disability.

      31.   The unlawful employment practices complained of in paragraphs

13 through 29 above, were intentional.

      32.   The unlawful employment practices complained of in paragraphs

13 through 29 above, were done with malice or with reckless indifference to the

federally protected rights of Derby.

                                PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

      A.    Grant a permanent injunction enjoining Defendant Employer, its

officers, agents, servants, employees, attorneys, and all persons in active

concert or participation with them, from failing to accommodate its qualified

employees with disabilities to allow them to attend the same meetings available

to non-disabled employees.

      B.    Grant a permanent injunction enjoining Defendant Employer, its

officers, agents, servants, employees, attorneys, and all persons in active

concert or participation with them, from failing to provide a reasonable

accommodation to the known disabilities of its employees to allow them to

compete for the same promotional opportunities as non-disabled employees.


                                         6
  Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 7 of 8 PAGEID #: 7




      C.     Grant a permanent injunction enjoining Defendant Employer, its

officers, agents, servants, employees, attorneys, and all persons in active

concert or participation with them, from failing to engage in the interactive

process to accommodate the known disabilities of its employees.

      D.     Order Defendant Employer to institute and carry out policies,

practices, and programs which provide equal employment opportunities for

qualified individuals with disabilities , and which eradicate the effects of its

past and present unlawful employment practices.

      F.     Order Defendant Employer to make whole Derby by providing back

pay with interest and compensation for past and future non-pecuniary losses

resulting from the unlawful practices complained of in paragraphs 13 through

29, above, including emotional pain, distress, suffering, inconvenience, anxiety,

loss of enjoyment of life, and humiliation, in amounts to be determined at trial.

      G.     Order Defendant Employer to pay Derby punitive damages for their

malicious and reckless conduct, as described in paragraph 13 through 29

above, in amounts to be determined at trial.

      H.     Grant such further relief as the Court deems necessary and proper

in the public interest.

      I.     Award the Commission its costs of this action.

                              JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by its

complaint.




                                          7
Case: 3:20-cv-00381-TMR-CHG Doc #: 1 Filed: 09/14/20 Page: 8 of 8 PAGEID #: 8




                                   Respectfully submitted,

                                   SHARON FAST GUSTAFSON
                                   General Counsel

                                   ROBERT A. CANINO
                                   Acting Deputy General Counsel

                                   GWENDOLYN REAMS
                                   Associate General Counsel

                                   U.S. EQUAL EMPLOYMENT
                                   OPPORTUNITYCOMMISSION
                                   Washington, D.C.

                                   KENNETH L. BIRD,
                                   Regional Attorney

                                   NANCY DEAN EDMONDS,
                                   Supervisory Trial Attorney

                                   /s/Alessandra M. Rosa
                                   ALESSANDRA M. ROSA
                                   Trial Attorney, IN Bar No. 35133-29


                                   U.S. EQUAL EMPLOYMENT
                                   OPPORTUNITY COMMISSION
                                   Indianapolis District Office
                                   101 W. Ohio St., Suite 1900
                                   Indianapolis, IN 46204
                                   alessandra.rosa@eeoc.gov
                                   Tel. (463) 999-1181




                                      8
